Case 1:12-cv-00292-RJA-LGF Document1 Filed 04/09/12 Page 1 of 27

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

 

BUFFALO DIVISION
DENNIS CANARIO JR. ) Case No.
)
Plaintiff, )
)
VS. ) COMPLAINT
)
PREMIER RECOVERY GROUP, INC., _)
QUINTON M. SMITH, )
AND JOEY YOUNGER ) Jury Trial Demanded
)
Defendants. )
)
NATURE OF ACTION
1. This is an action brought under the Fair Debt Collection Practices Act

(“FDCPA”), 15 U.S.C. § 1692 ef seg., and the Telephone Consumer Protection Act
(“TCPA”), 47 U.S.C. § 227.
JURISDICTION AND VENUE
2. This Court has jurisdiction under 15 U.S.C. § 1692k(d), 47 U.S.C. §
227(b)(3), 28 U.S.C. § 1331, and 28 U.S.C. § 1367(a).
3, Venue is proper before this Court pursuant to 28 U.S.C. § 1391(b), where
the acts and transactions giving rise to Plaintiff's action occurred in this State and this

district and, where Defendant transacts business in this State and this district.

Complaint
Page 1 of 27
Case 1:12-cv-00292-RJA-LGF Document1 Filed 04/09/12 Page 2 of 27

PARTIES

4. Plaintiff, Dennis Canario Jr. (“Plaintiff’), is a natural person who at all
relevant times resided in the State of Rhode Island, County of Newport, and City of
Portsmouth.

5. Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).

6. Defendant, Premier Recovery Group, Inc. (“PRG”) is an entity who at all
relevant times was engaged, by use of the mails and telephone, in the business of
attempting to collect a “debt” from Plaintiff, as defined by 15 U.S.C. § 1692a(5).

7. Defendant PRG is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

8. Defendants, Quinton M. Smith (“Smith”), and Joey Younger (“Younger”)
are individuals who at all relevant times was engaged, by use of the mails and telephone,
in the business of attempting to collect a “debt” from Plaintiff, as defined by 15 U.S.C. §
1692a(5).

9. Upon information and belief, Smith, and Younger:

a. Were regularly engaged, directly and indirectly in the collection of
Plaintiff's debt;

b. Were personally involved in the collection of Plaintiff's debt;

c. Were materially involved in the collection of Plaintiff's debt;

d. Materially participated in PRG’s debt collection activities;

e. Were involved in the day-to-day operations of PRG’s debt collection
business;

f. Exercised control over the affairs of PRG’s debt collection business.

Complaint
Page 2 of 27
Case 1:12-cv-00292-RJA-LGF Document1 Filed 04/09/12 Page 3 of 27

10. “Employees can be held personally liable under the FDCPA.” Robinson v.
Managed Accounts Receivable Corp., 654 F. Supp. 2d 1051, 1059 (C.D. Cal. 2009); see
Schwarm vy. Craighead, 552 F. Supp. 2d 1056, 1070-71 (E.D. Cal. 2008).

11. Furthermore, “most district courts that have addressed the issue have held
that the corporate structure does not insulate shareholders, officers, or directors from
personal liability under the FDCPA.” Schwarm v. Craighead, 552 F. Supp. 2d 1056,
1070-71 (E.D. Cal. 2008); see Kistner v. Law Offices of Michael P. Margelefsky, L.L.C.,
518 F.3d 433, 437-38 (6th Cir. 2008); del Campo v. Kennedy, 491 F. Supp. 2d 891, 903
(N.D.Cal.2006); Brumbelow v. Law Offices of Bennett & Deloney, P.C., 372 F.Supp.2d
615, 618-21 (D. Utah 2005); Albanese v. Portnoff Law Assocs., Lid., 301 F. Supp. 2d
389, 400 (E.D. Pa. 2004); Musso v. Seiders, 194 F.R.D. 43, 46-47 (D.Conn.1999); Brink
vy. First Credit Res., 57 F. Supp. 2d 848, 861-62 (D. Ariz. 1999); Pikes v. Riddle, 38 F.
Supp. 2d 639, 640 (N.D. Ill. 1998); Ditty v. CheckRite, Ltd., 973 F. Supp. 1320, 1337-38
(D. Utah 1997); Newman v. Checkrite Cal. Inc., 912 F. Supp. 1354, 1372 (E.D.
Cal.1995); Teng v. Metro. Retail Recovery Inc., 851 F. Supp. 61, 67 (E.D. N.Y. 1994).

FACTUAL ALLEGATIONS

12. ‘Plaintiff is a natural person obligated, or allegedly obligated, to pay a debt
owed or due, or asserted to be owed or due a creditor other than Defendants.

13. Plaintiff's obligation, or alleged obligation, owed or due, or asserted to be
owed or due a creditor other than Defendants, arises from a transaction in which the
money, property, insurance, or services that are the subject of the transaction were

incurred primarily for personal, family, or household purposes.

Complaint
Page 3 of 27
Case 1:12-cv-00292-RJA-LGF Document1 Filed 04/09/12 Page 4 of 27

14. Defendants use instrumentalities of interstate commerce or the mails in a
business the principal purpose of which is the collection of any debts, and/or regularly
collects or attempts to collect, directly or indirectly, debts owed or due, or asserted to be
owed or due another.

15. Within one (1) year preceding the date of this Complaint, Defendants
made and/or placed a telephone call to Plaintiff's cellular telephone number, in effort to
collect from Plaintiff an obligation, or alleged obligation, owed or due, or asserted to be
owed or due a creditor other than Defendants.

16. Within one (1) year preceding the date of this Complaint, Defendants
willfully and knowingly utilized an automatic telephone dialing system to make and/or
place a telephone call to Plaintiff's cellular telephone number, in effort to collect from
Plaintiff an obligation, or alleged obligation, owed or due, or asserted to be owed or due a
creditor other than Defendants.

17. In connection with collection of an alleged debt in default, PRG called
Plaintiff's cellular telephone on November 11, 2011 at 10:11 A.M., and at such time, left
the following pre-recorded voicemail message:

“Hello we have an important message for Dennis Canario, with

information regarding business you are currently conducting. Please give
us a call back at 1-866-364-6516. Thank you.”

18. In its voicemail message of November 11, 2011, PRG failed to notify
Plaintiff that the communication was from a debt collector.
19. In its voicemail message of November 11, 2011, PRG failed to disclose its

true corporate or business name in a telephone call to Plaintiff.

Complaint
Page 4 of 27
Case 1:12-cv-00292-RJA-LGF Document1 Filed 04/09/12 Page 5 of 27

20. In the alternative, PRG’s voicemail messages of November 11, 2011 failed
to state that the call was made for the purpose of confirming or correcting location
information about a consumer.

21. PRG, called Plaintiff's cellular telephone on December 5, 2011 at 7:21
P.M., and at such time, left the following voicemail message:

“This message is being left solely for Dennis Canario. This is Mr.

Anthony with the judgment and claims division of PRG. I need to speak

with yourself or your legal representation. If we are unable to hear from

you in a timely manner our client will deem this as a direct refusal to

cooperate and will forward this information to your employer. To contact

this office directly at 877-799-9234, include file number 128475, that’s
128475.”

22. In its voicemail message of December 5, 2011, PRG failed to notify
Plaintiff that the communication was from a debt collector.

23. In failing to disclose that PRG is a debt collector, PRG failed to
meaningfully disclose its identity in its voicemail message of December 5, 2011.

24. ‘In its voicemail message of December 5, 2011, PRG conveyed a false
sense of urgency with regard to said call for the purpose of compelling Plaintiff to
communicate with a debt collector.

25. — In the alternative, PRG’s voicemail messages of December 5, 2011 failed
to state that the call was made for the purpose of confirming or correcting location
information about a consumer.

26. PRG called Plaintiff's cellular telephone on December 9, 2011 at 10:00
A.M., and at such time, left the following pre-recorded voicemail message:

“Hello we have an important message for Dennis Canario, with

information regarding business you are currently conducting. Please give
us a call back at 1-866-364-6516. Thank you.”

Complaint
Page 5 of 27
Case 1:12-cv-00292-RJA-LGF Document1 Filed 04/09/12 Page 6 of 27

27. In its voicemail message of December 9, 2011, PRG failed to notify
Plaintiff that the communication was from a debt collector.

28. In its voicemail message of December 9, 2011, PRG failed to disclose its
true corporate or business name in a telephone call to Plaintiff.

29. In the alternative, PRG’s voicemail messages of December 9, 2011 failed
to state that the call was made for the purpose of confirming or correcting location
information about a consumer.

30. PRG, called Plaintiff's cellular telephone on December 15, 2011 at 10:51
A.M., and at such time, left the following voicemail message:

“This message is being left solely for Dennis Canario. This is Mr.

Anthony with the judgment and claims division of PRG. I need to speak

with yourself or your legal representation. If we are unable to hear from

you in the next 24 hours our client will deem this as a direct refusal to

cooperate and will forward this information to your employer. To contact

this office directly at 877-799-9234 extension 315, include file number
128475, that’s 128475.”

31. In its voicemail message of December 15, 2011, PRG failed to notify
Plaintiff that the communication was from a debt collector.

32. In failing to disclose that Defendant is a debt collector, PRG failed to
meaningfully disclose its identity in its voicemail message of December 15, 2011.

33. In its voicemail message of December 15, 2011, PRG conveyed a false
sense of urgency with regard to said call for the purpose of compelling Plaintiff to
communicate with a debt collector.

34. In the alternative, PRG’s voicemail messages of December 15, 2011 failed
to state that the call was made for the purpose of confirming or correcting location

information about a consumer.

Complaint
Page 6 of 27
Case 1:12-cv-00292-RJA-LGF Document1 Filed 04/09/12 Page 7 of 27

35. PRG willingly and knowingly placed non-emergency calls to Plaintiffs
cellular telephone, without the prior express consent of Plaintiff, using an automatic
telephone dialing system and/or an artificial or pre-recorded voice, including, but not
limited to, the calls placed on November 11, 2011, December 5, 2011, December 9, 2011,
and December 15, 2011.

36. Defendants’ actions constitute conduct highly offensive to a reasonable
person.

COUNT I
DEFENDANT PRG
VIOLATION OF 15 U.S.C. § 1692d(6)

37. Plaintiff repeats and re-alleges each and every allegation contained above.

38. Defendant PRG violated 15 U.S.C. § 1692d(6) by placing a telephone call
without meaningfully disclosing the caller’s identity.

39. Defendant PRG violated 15 U.S.C. § 1692d(6) by failing to disclose
Defendant’s true corporate or business name in a telephone call to Plaintiff.

40. Smith is personally liable for PRG’s conduct, absent the need to pierce
PRG’s corporate veil, as a result of his involvement in the day-to-day management of
PRG’s debt collection business, his responsibility for day-to-day supervision of PRG’s
debt collector employees, his personal involvement in the collection of Plaintiffs alleged
debt, his material involvement in the collection of Plaintiff's alleged debt, and his
exercise of control over the affairs of PRG’s debt collection business.

41. | Younger is personally liable for PRG’s conduct, absent the need to pierce
PRG’s corporate veil, as a result of his involvement in the day-to-day management of

PRG’s debt collection business, his responsibility for day-to-day supervision of PRG’s

Complaint
Page 7 of 27
Case 1:12-cv-00292-RJA-LGF Document1 Filed 04/09/12 Page 8 of 27

debt collector employees, his personal involvement in the collection of Plaintiff's alleged
debt, his material involvement in the collection of Plaintiffs alleged debt, and his
exercise of control over the affairs of PRG’s debt collection business.
WHEREFORE, Plaintiff prays for relief and judgment, as follows:
a) Adjudging that Defendant PRG violated 15 U.S.C. § 1692d(6);
b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k, in
the amount of $1,000.00;
c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k;
d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this
action;
e) Awarding Plaintiff any pre-judgment and post-judgment interest as may
be allowed under the law;

f) Awarding such other and further relief as the Court may deem just and

proper.
COUNT II
DEFENDANT SMITH
VIOLATION OF 15 U.S.C. § 1692d(6)
42. Plaintiff repeats and re-alleges each and every allegation contained above.

43. Defendant PRG violated 15 U.S.C. § 1692d(6) by placing a telephone call
without meaningfully disclosing the caller’s identity.

44. Defendant PRG violated 15 U.S.C. § 1692d(6) by failing to disclose
Defendant’s true corporate or business name in a telephone call to Plaintiff.

45, Smith is personally liable for PRG’s conduct, absent the need to pierce

PRG’s corporate veil, as a result of his involvement in the day-to-day management of

Complaint
Page 8 of 27
Case 1:12-cv-00292-RJA-LGF Document1 Filed 04/09/12 Page 9 of 27

PRG’s debt collection business, his responsibility for day-to-day supervision of PRG’s
debt collector employees, his personal involvement in the collection of Plaintiff's alleged
debt, his material involvement in the collection of Plaintiff's alleged debt, and his
exercise of control over the affairs of PRG’s debt collection business.
46. Younger is personally liable for PRG’s conduct, absent the need to pierce
PRG’s corporate veil, as a result of his involvement in the day-to-day management of
PRG’s debt collection business, his responsibility for day-to-day supervision of PRG’s
debt collector employees, his personal involvement in the collection of Plaintiff's alleged
debt, his material involvement in the collection of Plaintiff's alleged debt, and his
exercise of control over the affairs of PRG’s debt collection business.
WHEREFORE, Plaintiff prays for relief and judgment, as follows:
a) Adjudging that Defendant Smith violated 15 U.S.C. § 1692d(6);
b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k, in
the amount of $1,000.00;
c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k;
d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this
action;
e) Awarding Plaintiff any pre-judgment and post-judgment interest as may
be allowed under the law;
f) Awarding such other and further relief as the Court may deem just and

proper.

Complaint
Page 9 of 27
Case 1:12-cv-00292-RJA-LGF Document1 Filed 04/09/12 Page 10 of 27

COUNT III
DEFENDANT YOUNGER
VIOLATION OF 15 U.S.C. § 1692d(6)

47. Plaintiff repeats and re-alleges each and every allegation contained above.

48. Defendant PRG violated 15 U.S.C. § 1692d(6) by placing a telephone call
without meaningfully disclosing the caller’s identity.

49, Defendant PRG violated 15 U.S.C. § 1692d(6) by failing to disclose
Defendant’s true corporate or business name in a telephone call to Plaintiff.

50. Smith is personally liable for PRG’s conduct, absent the need to pierce
PRG’s corporate veil, as a result of his involvement in the day-to-day management of
PRG’s debt collection business, his responsibility for day-to-day supervision of PRG’s
debt collector employees, his personal involvement in the collection of Plaintiff's alleged
debt, his material involvement in the collection of Plaintiff's alleged debt, and his
exercise of control over the affairs of PRG’s debt collection business.

51. | Younger is personally liable for PRG’s conduct, absent the need to pierce
PRG’s corporate veil, as a result of his involvement in the day-to-day management of
PRG’s debt collection business, his responsibility for day-to-day supervision of PRG’s
debt collector employees, his personal involvement in the collection of Plaintiff's alleged
debt, his material involvement in the collection of Plaintiff's alleged debt, and his
exercise of control over the affairs of PRG’s debt collection business.

WHEREFORE, Plaintiff prays for relief and judgment, as follows:

a) Adjudging that Defendant Younger violated 15 U.S.C. § 1692d(6);
b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k, in

the amount of $1,000.00;

Complaint
Page 10 of 27
Case 1:12-cv-00292-RJA-LGF Document1 Filed 04/09/12 Page 11 of 27

c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k;
d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this
action;
e) Awarding Plaintiff any pre-judgment and post-judgment interest as may
be allowed under the law;
f) Awarding such other and further relief as the Court may deem just and
proper.
COUNT IV
DEFENDANT PRG
VIOLATION OF 15 U.S.C. § 1692e(11)
52. Plaintiff repeats and re-alleges each and every allegation contained above.
53. Defendant PRG violated 15 U.S.C. § 1692e(11) by failing to notify
Plaintiff during each collection contact that the communication was from a debt collector.
54. Smith is personally liable for PRG’s conduct, absent the need to pierce
PRG’s corporate veil, as a result of his involvement in the day-to-day management of
PRG’s debt collection business, his responsibility for day-to-day supervision of PRG’s
debt collector employees, his personal involvement in the collection of Plaintiff's alleged
debt, his material involvement in the collection of Plaintiff's alleged debt, and his
exercise of control over the affairs of PRG’s debt collection business.
55, Younger is personally liable for PRG’s conduct, absent the need to pierce
PRG’s corporate veil, as a result of his involvement in the day-to-day management of
PRG’s debt collection business, his responsibility for day-to-day supervision of PRG’s

debt collector employees, his personal involvement in the collection of Plaintiff's alleged

Complaint
Page 11 of 27
Case 1:12-cv-00292-RJA-LGF Document1 Filed 04/09/12 Page 12 of 27

debt, his material involvement in the collection of Plaintiffs alleged debt, and his

exercise of control over the affairs of PRG’s debt collection business.

WHEREFORE, Plaintiff prays for relief and judgment, as follows:

56.

57.

a)
b)

Adjudging that Defendant PRG violated 15 U.S.C. § 1692e(11);
Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k, in
the amount of $1,000.00;
Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k;
Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this
action;
Awarding Plaintiff any pre-judgment and post-judgment interest as may
be allowed under the law;
Awarding such other and further relief as the Court may deem just and
proper.
COUNT V
DEFENDANT SMITH
VIOLATION OF 15 U.S.C. § 1692e(11)

Plaintiff repeats and re-alleges each and every allegation contained above.

Defendant PRG violated 15 U.S.C. § 1692e(11) by failing to notify

Plaintiff during each collection contact that the communication was from a debt collector.

58.

Smith is personally liable for PRG’s conduct, absent the need to pierce

PRG’s corporate veil, as a result of his involvement in the day-to-day management of

PRG’s debt collection business, his responsibility for day-to-day supervision of PRG’s

debt collector employees, his personal involvement in the collection of Plaintiffs alleged

Complaint
Page 12 of 27
Case 1:12-cv-00292-RJA-LGF Document1 Filed 04/09/12 Page 13 of 27

debt, his material involvement in the collection of Plaintiffs alleged debt, and his

exercise of control over the affairs of PRG’s debt collection business.

59,

Younger is personally liable for PRG’s conduct, absent the need to pierce

PRG’s corporate veil, as a result of his involvement in the day-to-day management of

PRG’s debt collection business, his responsibility for day-to-day supervision of PRG’s

debt collector employees, his personal involvement in the collection of Plaintiffs alleged

debt, his material involvement in the collection of Plaintiffs alleged debt, and his

exercise of control over the affairs of PRG’s debt collection business.

WHEREFORE, Plaintiff prays for relief and judgment, as follows:

60.

a)
b)

Adjudging that Defendant Smith violated 15 U.S.C. § 1692e(11);
Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k, in
the amount of $1,000.00;
Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k;
Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this
action;
Awarding Plaintiff any pre-judgment and post-judgment interest as may
be allowed under the law;
Awarding such other and further relief as the Court may deem just and
proper.
COUNT VI
DEFENDANT YOUNGER

VIOLATION OF 15 U.S.C. § 1692e(11)

Plaintiff repeats and re-alleges each and every allegation contained above.

Complaint
Page 13 of 27
Case 1:12-cv-00292-RJA-LGF Document1 Filed 04/09/12 Page 14 of 27

61. Defendant PRG violated 15 U.S.C. § 1692e(11) by failing to notify
Plaintiff during each collection contact that the communication was from a debt collector.
62. Smith is personally liable for PRG’s conduct, absent the need to pierce
PRG’s corporate veil, as a result of his involvement in the day-to-day management of
PRG’s debt collection business, his responsibility for day-to-day supervision of PRG’s
debt collector employees, his personal involvement in the collection of Plaintiff's alleged
debt, his material involvement in the collection of Plaintiff's alleged debt, and his
exercise of control over the affairs of PRG’s debt collection business.
63. | Younger is personally liable for PRG’s conduct, absent the need to pierce
PRG’s corporate veil, as a result of his involvement in the day-to-day management of
PRG’s debt collection business, his responsibility for day-to-day supervision of PRG’s
debt collector employees, his personal involvement in the collection of Plaintiff's alleged
debt, his material involvement in the collection of Plaintiffs alleged debt, and his
exercise of control over the affairs of PRG’s debt collection business.
WHEREFORE, Plaintiff prays for relief and judgment, as follows:
a) Adjudging that Defendant Younger violated 15 U.S.C. § 1692e(11);
b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k, in
the amount of $1,000.00;
c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k;
d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this
action;
e) Awarding Plaintiff any pre-judgment and post-judgment interest as may

be allowed under the law;

Complaint
Page 14 of 27
Case 1:12-cv-00292-RJA-LGF Document1 Filed 04/09/12 Page 15 of 27

f) Awarding such other and further relief as the Court may deem just and

proper.
COUNT VII
DEFENDANT PRG
VIOLATION OF 15 U.S.C. § 1692e(10)
64. Plaintiff repeats and re-alleges each and every allegation contained above.

65. PRG violated 15 U.S.C. § 1692e(10) by conveying a false sense of
urgency in telephone calls to Plaintiff for the purpose of compelling Plaintiff to
communicate with a debt collector.

66. Smith is personally liable for PRG’s conduct, absent the need to pierce
PRG’s corporate veil, as a result of his involvement in the day-to-day management of
PRG’s debt collection business, his responsibility for day-to-day supervision of PRG’s
debt collector employees, his personal involvement in the collection of Plaintiff's alleged
debt, his material involvement in the collection of Plaintiff's alleged debt, and his
exercise of control over the affairs of PRG’s debt collection business.

67. Younger is personally liable for PRG’s conduct, absent the need to pierce
PRG’s corporate veil, as a result of his involvement in the day-to-day management of
PRG’s debt collection business, his responsibility for day-to-day supervision of PRG’s
debt collector employees, his personal involvement in the collection of Plaintiffs alleged
debt, his material involvement in the collection of Plaintiffs alleged debt, and his
exercise of control over the affairs of PRG’s debt collection business.

WHEREFORE, Plaintiff prays for relief and judgment, as follows:

a) Adjudging that Defendant PRG violated 15 U.S.C. § 1692e(10);

Complaint
Page 15 of 27
Case 1:12-cv-00292-RJA-LGF Document1 Filed 04/09/12 Page 16 of 27

b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k, in
the amount of $1,000.00;

c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k;

d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this
action;

e) Awarding Plaintiff any pre-judgment and post-judgment interest as may
be allowed under the law;

f) Awarding such other and further relief as the Court may deem just and

proper.
COUNT VIII
DEFENDANT SMITH
VIOLATION OF 15 U.S.C. § 1692e(10)
68. Plaintiff repeats and re-alleges each and every allegation contained above.

69. PRG violated 15 U.S.C. § 1692e(10) by conveying a false sense of
urgency in telephone calls to Plaintiff for the purpose of compelling Plaintiff to
communicate with a debt collector.

70. Smith is personally liable for PRG’s conduct, absent the need to pierce
PRG’s corporate veil, as a result of his involvement in the day-to-day management of
PRG’s debt collection business, his responsibility for day-to-day supervision of PRG’s
debt collector employees, his personal involvement in the collection of Plaintiffs alleged
debt, his material involvement in the collection of Plaintiffs alleged debt, and his
exercise of control over the affairs of PRG’s debt collection business.

71. Younger is personally liable for PRG’s conduct, absent the need to pierce

PRG’s corporate veil, as a result of his involvement in the day-to-day management of

Complaint
Page 16 of 27
Case 1:12-cv-00292-RJA-LGF Document1 Filed 04/09/12 Page 17 of 27

PRG’s debt collection business, his responsibility for day-to-day supervision of PRG’s

debt collector employees, his personal involvement in the collection of Plaintiff's alleged

debt, his material involvement in the collection of Plaintiff's alleged debt, and his

exercise of control over the affairs of PRG’s debt collection business.

WHEREFORE, Plaintiff prays for relief and judgment, as follows:

72.

73.

a)
b)

Adjudging that Defendant Smith violated 15 U.S.C. § 1692e(10);
Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k, in
the amount of $1,000.00;
Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k;
Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this
action;
Awarding Plaintiff any pre-judgment and post-judgment interest as may
be allowed under the law;
Awarding such other and further relief as the Court may deem just and
proper.
COUNT IX
DEFENDANT YOUNGER
VIOLATION OF 15 U.S.C. § 1692e(10)

Plaintiff repeats and re-alleges each and every allegation contained above.

PRG violated 15 U.S.C. § 1692e(10) by conveying a false sense of

urgency in telephone calls to Plaintiff for the purpose of compelling Plaintiff to

communicate with a debt collector.

74.

Smith is personally liable for PRG’s conduct, absent the need to pierce

PRG’s corporate veil, as a result of his involvement in the day-to-day management of

Complaint
Page 17 of 27
Case 1:12-cv-00292-RJA-LGF Document1 Filed 04/09/12 Page 18 of 27

PRG’s debt collection business, his responsibility for day-to-day supervision of PRG’s
debt collector employees, his personal involvement in the collection of Plaintiffs alleged
debt, his material involvement in the collection of Plaintiff's alleged debt, and his
exercise of control over the affairs of PRG’s debt collection business.
75. Younger is personally liable for PRG’s conduct, absent the need to pierce
PRG’s corporate veil, as a result of his involvement in the day-to-day management of
PRG’s debt collection business, his responsibility for day-to-day supervision of PRG’s
debt collector employees, his personal involvement in the collection of Plaintiff's alleged
debt, his material involvement in the collection of Plaintiff's alleged debt, and his
exercise of control over the affairs of PRG’s debt collection business.
WHEREFORE, Plaintiff prays for relief and judgment, as follows:
a) Adjudging that Defendant Younger violated 15 U.S.C. § 1692e(10);
b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k, in
the amount of $1,000.00;
c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k;
d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this
action;
e) Awarding Plaintiff any pre-judgment and post-judgment interest as may
be allowed under the law;
f) Awarding such other and further relief as the Court may deem just and

proper.

Complaint
Page 18 of 27
Case 1:12-cv-00292-RJA-LGF Document1 Filed 04/09/12 Page 19 of 27

COUNT X
DEFENDANT PRG
VIOLATION OF 15 U.S.C. §§ 1692b, 1692c(b)

76. Plaintiff repeats and re-alleges each and every allegation contained above.

77. In the alternative, PRG violated 15 U.S.C. §§ 1692b, 1692c(b) by
contacting a third party for purposes other than obtaining location information.

78. Smith is personally liable for PRG’s conduct, absent the need to pierce
PRG’s corporate veil, as a result of his involvement in the day-to-day management of
PRG’s debt collection business, his responsibility for day-to-day supervision of PRG’s
debt collector employees, his personal involvement in the collection of Plaintiffs alleged
debt, his material involvement in the collection of Plaintiffs alleged debt, and his
exercise of control over the affairs of PRG’s debt collection business.

79. Younger is personally liable for PRG’s conduct, absent the need to pierce
PRG’s corporate veil, as a result of his involvement in the day-to-day management of
PRG’s debt collection business, his responsibility for day-to-day supervision of PRG’s
debt collector employees, his personal involvement in the collection of Plaintiff's alleged
debt, his material involvement in the collection of Plaintiffs alleged debt, and his
exercise of control over the affairs of PRG’s debt collection business.

WHEREFORE, Plaintiff prays for relief and judgment, as follows:

a) Adjudging that Defendant PRG violated 15 U.S.C. §§ 1692b, 1692c(b)
b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k, in
the amount of $1,000.00;

c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k;

Complaint
Page 19 of 27
Case 1:12-cv-00292-RJA-LGF Document1 Filed 04/09/12 Page 20 of 27

d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this
action;
e) Awarding Plaintiff any pre-judgment and post-judgment interest as may
be allowed under the law;
f) Awarding such other and further relief as the Court may deem just and
proper.
COUNT XI
DEFENDANT SMITH
VIOLATION OF 15 U.S.C. §§ 1692b, 1692c(b)

80. Plaintiff repeats and re-alleges each and every allegation contained above.

81. In the alternative, PRG violated 15 U.S.C. §§ 1692b, 1692c(b) by
contacting a third party for purposes other than obtaining location information.

82. Smith is personally liable for PRG’s conduct, absent the need to pierce
PRG’s corporate veil, as a result of his involvement in the day-to-day management of
PRG’s debt collection business, his responsibility for day-to-day supervision of PRG’s
debt collector employees, his personal involvement in the collection of Plaintiffs alleged
debt, his material involvement in the collection of Plaintiff's alleged debt, and his
exercise of control over the affairs of PRG’s debt collection business.

83. Younger is personally liable for PRG’s conduct, absent the need to pierce
PRG’s corporate veil, as a result of his involvement in the day-to-day management of
PRG’s debt collection business, his responsibility for day-to-day supervision of PRG’s
debt collector employees, his personal involvement in the collection of Plaintiffs alleged
debt, his material involvement in the collection of Plaintiff's alleged debt, and his

exercise of control over the affairs of PRG’s debt collection business.

Complaint
Page 20 of 27
Case 1:12-cv-00292-RJA-LGF Document1 Filed 04/09/12 Page 21 of 27

WHEREFORE, Plaintiff prays for relief and judgment, as follows:

84.

85.

a)
b)

Adjudging that Defendant Smith violated 15 U.S.C. §§ 1692b, 1692c(b)
Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k, in
the amount of $1,000.00;
Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k;
Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this
action;
Awarding Plaintiff any pre-judgment and post-judgment interest as may
be allowed under the law;
Awarding such other and further relief as the Court may deem just and
proper.
COUNT XII
DEFENDANT YOUNGER
VIOLATION OF 15 U.S.C. §§ 1692b, 1692¢(b)

Plaintiff repeats and re-alleges each and every allegation contained above.

In the alternative, PRG violated 15 U.S.C. §§ 1692b, 1692c(b) by

contacting a third party for purposes other than obtaining location information.

86.

Smith is personally liable for PRG’s conduct, absent the need to pierce

PRG’s corporate veil, as a result of his involvement in the day-to-day management of

PRG’s debt collection business, his responsibility for day-to-day supervision of PRG’s

debt collector employees, his personal involvement in the collection of Plaintiff's alleged

debt, his material involvement in the collection of Plaintiff's alleged debt, and his

exercise of control over the affairs of PRG’s debt collection business.

Complaint
Page 21 of 27
Case 1:12-cv-00292-RJA-LGF Document1 Filed 04/09/12 Page 22 of 27

87.

Younger is personally liable for PRG’s conduct, absent the need to pierce

PRG’s corporate veil, as a result of his involvement in the day-to-day management of

PRG’s debt collection business, his responsibility for day-to-day supervision of PRG’s

debt collector employees, his personal involvement in the collection of Plaintiff's alleged

debt, his material involvement in the collection of Plaintiff's alleged debt, and his

exercise of control over the affairs of PRG’s debt collection business.

WHEREFORE, Plaintiff prays for relief and judgment, as follows:

88.

89.

a)
b)

Adjudging that Defendant Younger violated 15 U.S.C. §§ 1692b, 1692c(b)
Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k, in
the amount of $1,000.00;
Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k;
Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this
action;
Awarding Plaintiff any pre-judgment and post-judgment interest as may
be allowed under the law;
Awarding such other and further relief as the Court may deem just and
proper.

COUNT XII

DEFENDANT PRG
VIOLATION OF 47 U.S.C. § 227(b)(1)(A)(iii)

Plaintiff repeats and re-alleges each and every allegation contained above.

Defendant PRG violated 47 U.S.C. § 227(b)(1)(A)(iii) by placing non-

emergency calls to Plaintiff's cellular telephone, without the prior express consent of

Plaintiff, using an automatic telephone dialing system and/or an artificial or pre-recorded

voice.

Complaint
Page 22 of 27
Case 1:12-cv-00292-RJA-LGF Document1 Filed 04/09/12 Page 23 of 27

90. Smith is personally liable for PRG’s conduct, absent the need to pierce
PRG’s corporate veil, as a result of his involvement in the day-to-day management of
PRG’s debt collection business, his responsibility for day-to-day supervision of PRG’s
debt collector employees, his personal involvement in the collection of Plaintiffs alleged
debt, his material involvement in the collection of Plaintiffs alleged debt, and his
exercise of control over the affairs of PRG’s debt collection business.

91. | Younger is personally liable for PRG’s conduct, absent the need to pierce
PRG’s corporate veil, as a result of his involvement in the day-to-day management of
PRG’s debt collection business, his responsibility for day-to-day supervision of PRG’s
debt collector employees, his personal involvement in the collection of Plaintiff's alleged
debt, his material involvement in the collection of Plaintiffs alleged debt, and his
exercise of control over the affairs of PRG’s debt collection business.

WHEREFORE, Plaintiff prays for relief and judgment, as follows:

a) Adjudging that Defendant PRG violated 47 U.S.C. § 227(b)(1 )(A)(ii1);

b) Awarding Plaintiff statutory damages, pursuant to 47 U.S.C. §
227(b)(3)(B), in the amount of $500.00 per violation;

c) Awarding Plaintiff statutory damages, pursuant to 47 U.S.C. §
227(b)(3)(C), in the amount of $1,500.00 per violation;

d) Awarding Plaintiff actual damages, pursuant to 47 U.S.C. § 227(b)(3)(B);

e) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this
action;

f) Awarding Plaintiff any pre-judgment and post-judgment interest as may

be allowed under the law.

Complaint
Page 23 of 27
Case 1:12-cv-00292-RJA-LGF Document1 Filed 04/09/12 Page 24 of 27

COUNT XIV
DEFENDANT SMITH
VIOLATION OF 47 U.S.C. § 227(b)(1)(A)(iii)

92. Plaintiff repeats and re-alleges each and every allegation contained above.

93. Defendant PRG violated 47 U.S.C. § 227(b)(1)(A)Gii) by placing non-
emergency calls to Plaintiff's cellular telephone, without the prior express consent of
Plaintiff, using an automatic telephone dialing system and/or an artificial or pre-recorded
voice.

94. Defendant Smith is personally liable for PRG’s conduct, absent the need
to pierce PRG’s corporate veil, as a result of his involvement in the day-to-day
management of PRG’s debt collection business, his responsibility for day-to-day
supervision of PRG’s debt collector employees, his personal involvement in the
collection of Plaintiff's alleged debt, his material involvement in the collection of
Plaintiff's alleged debt, and his exercise of control over the affairs of PRG’s debt
collection business.

95. Younger is personally liable for PRG’s conduct, absent the need to pierce
PRG’s corporate veil, as a result of his involvement in the day-to-day management of
PRG’s debt collection business, his responsibility for day-to-day supervision of PRG’s
debt collector employees, his personal involvement in the collection of Plaintiff's alleged
debt, his material involvement in the collection of Plaintiffs alleged debt, and his
exercise of control over the affairs of PRG’s debt collection business.

WHEREFORE, Plaintiff prays for relief and judgment, as follows:

a) Adjudging that Defendant Smith violated 47 U.S.C. § 227(b)(1)(A)(1);
b) Awarding Plaintiff statutory damages, pursuant to 47 U.S.C. §

227(b)(3)(B), in the amount of $500.00 per violation;

Complaint
Page 24 of 27
Case 1:12-cv-00292-RJA-LGF Document1 Filed 04/09/12 Page 25 of 27

c) Awarding Plaintiff statutory damages, pursuant to 47 U.S.C. §
227(b)(3)(C), in the amount of $1,500.00 per violation;

d) Awarding Plaintiff actual damages, pursuant to 47 U.S.C. § 227(b)(3)\(B);

e) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this
action;

f) Awarding Plaintiff any pre-judgment and post-judgment interest as may
be allowed under the law.

COUNT XV

DEFENDANT YOUNGER
VIOLATION OF 47 U.S.C. § 227(b)(1)(A)(iii)

96. Plaintiff repeats and re-alleges each and every allegation contained above.

97. Defendant Younger violated 47 U.S.C. § 227(b)(1)(A)(iii) by placing non-
emergency calls to Plaintiffs cellular telephone, without the prior express consent of
Plaintiff, using an automatic telephone dialing system and/or an artificial or pre-recorded
voice.

98. Smith is personally liable for PRG’s conduct, absent the need to pierce
PRG’s corporate veil, as a result of his involvement in the day-to-day management of
PRG’s debt collection business, his responsibility for day-to-day supervision of PRG’s
debt collector employees, his personal involvement in the collection of Plaintiff's alleged
debt, his material involvement in the collection of Plaintiffs alleged debt, and his
exercise of control over the affairs of PRG’s debt collection business.

99, Younger is personally liable for PRG’s conduct, absent the need to pierce
PRG’s corporate veil, as a result of his involvement in the day-to-day management of
PRG’s debt collection business, his responsibility for day-to-day supervision of PRG’s

debt collector employees, his personal involvement in the collection of Plaintiff's alleged

Complaint
Page 25 of 27
Case 1:12-cv-00292-RJA-LGF Document1 Filed 04/09/12 Page 26 of 27

debt, his material involvement in the collection of Plaintiff's alleged debt, and his

exercise of control over the affairs of PRG’s debt collection business.

WHEREFORE, Plaintiff prays for relief and judgment, as follows:

a)
b)

100.

Adjudging that Defendant Younger violated 47 U.S.C. § 227(b)(1)(A)(iii);
Awarding Plaintiff statutory damages, pursuant to 47 U.S.C. §
227(b)(3)(B), in the amount of $500.00 per violation;
Awarding Plaintiff statutory damages, pursuant to 47 U.S.C. §
227(b)(3)(C), in the amount of $1,500.00 per violation;
Awarding Plaintiff actual damages, pursuant to 47 U.S.C. § 227(b)(3)(B);
Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this
action;
Awarding Plaintiff any pre-judgment and post-judgment interest as may
be allowed under the law.

TRIAL BY JURY

Plaintiff is entitled to and hereby demands a trial by jury.

bn
This 2-” day of March, 2012.

ATTORNEYS FOR PLAINTIFF
Dennis Canario Jr.

Respectfully submitted,

Dennis R. Kurz

NY Bar No. 4570453
Weisberg & Meyers, LLC
Attorneys for Plaintiff

 

Complaint
Page 26 of 27
Case 1:12-cv-00292-RJA-LGF Document1 Filed 04/09/12 Page 27 of 27

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Complaint
Page 27 of 27
